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United States District Court
IN THE UNITED STATES DISTRICT COURT Southern LEG of Texas

FOR THE SOUTHERN DISTRICT OF TEXAS FILE
MCALLEN DIVISION
SEP 18 2019
UNITED STATES OF AMERICA, §
Plaintiff, § David J, Bradley, Clerk of Court

§

V. § CIVIL ACTION NO. 7:18-cv-00338
§
27.36 ACRES OF LAND, MORE OR LESS, = §
SITUATE-IN HIDALGO COUNTY, STATE §
OF TEXAS, AND HEIRS OF ROMULO §
CAVAZOS, et al, §
Defendants. §

CLERK’S RECEIPT
I, David J. Bradley, Clerk of the United States District Court for the Southern District of
Texas, do hereby certify that on September 18, 2019, I received from the United States of America,
plaintiff herein, and deposited into the Registry of the Court, Check No. 8736-01848753, dated
September 10, 2019, for the total sum of TWO HUNDRED FIFTY DOLLARS AND NO CENTS, .

being an additional amount of just compensation in the above entitled condemnation proceeding.

L UNITED STATES DISTRICT COURT

uty Clerk
